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                                                IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 240 months as to Counts 1 and 2 with said terms to run concurrently
one with the other; 120 months as to Count 4 to run concurrently with the terms of
imprisonment in Counts 1 and 2; 60 months as to Count 5 to run consecutive to the terms
of imprisonment in Counts 1, 2, and 4.

         The defendant is remanded to the custody of the United States Marshal.




                                                    RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                             __________________________________
                                                                   UNITED STATES MARSHAL


                                                           By:__________________________________
                                                                       Deputy U.S. Marshal
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